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15                         UNITED STATES DISTRICT COURT
16                      SOUTHERN DISTRICT OF CALIFORNIA
17
     FIREARMS POLICY COALITION,                        Case No.: 3:23-cv-00400-LL-DDL
18   INC.; CALIFORNIA GUN RIGHTS
     FOUNDATION; SAN DIEGO
19   COUNTY GUN OWNERS PAC,                            PLAINTIFFS’ OPPOSITION TO
                                                       DEFENDANTS’ EX PARTE
20                      Plaintiffs,                    OPPOSITION TO EXTEND TIME
                                                       TO RESPOND TO PLAINTIFFS’
21         v.                                          MOTION FOR PRELIMINARY
                                                       INJUNCTION (ECF No. 48)
22   CITY OF SAN DIEGO; COUNTY OF
     IMPERIAL; COUNTY OF ALAMEDA;
23   COUNTY OF VENTURA; COUNTY
     OF LOS ANGELES; CITY OF SAN
24   JOSE; and COUNTY OF SANTA
     CLARA,
25
                        Defendants.
26
27
28



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 1         Plaintiffs oppose Defendants’ request for a further extension of time to respond
 2   to the motion, alternatively filed as a motion for preliminary injunction or summary
 3   judgment (the “PI Motion”) (Dkt. No. 48), as follows:
 4
     1.    No Good Cause Exists For Further Extension Of Time For Defendants’
 5         Opposition To The PI Motion.
 6         Plaintiffs filed the PI Motion on March 28, 2023, the same date they filed their
 7   initial brief responding to the Court’s OSC (Dkt No. 20–20-9). Plaintiffs set the PI
 8   Motion for a hearing on May 2. Under the Local Rules, Defendants’ opposition to the
 9   PI Motion was due April 18. Under the Court’s OSC order, the Plaintiffs’ reply on the
10   OSC was also due April 18.
11         On April 6, less than two weeks before their opposition to the PI Motion was
12   due, counsel for Defendant County of Alameda requested on behalf of Defendants
13   that their opposition be deferred until two weeks after the Court ruled on the OSC.
14   Duvernay Decl., ¶ 3. Plaintiffs’ counsel would not agree to that schedule but did agree
15   to extend the briefing to three weeks after Plaintiffs filed their OSC reply. Id.
16   Defendants agreed to this timing. Id. A few days later, on April 12, Plaintiffs’ counsel
17   contacted counsel for Alameda County to request a one-week extension on the OSC
18   reply, to April 25, with Defendants’ opposition to the PI Motion still due three weeks
19   thereafter (and the hearing on the PI Motion moved to May 30). Duvernay Decl., ¶ 4.
20         Thus, at the parties’ joint request pursuant to their negotiated agreement, the
21   hearing on the PI Motion was moved back four weeks, and the Court ordered the
22   following modifications to the briefing schedules: Plaintiffs’ OSC reply would be filed
23   April 25, and Defendants’ opposition to the PI Motion would be due three weeks
24   thereafter on May 16. Pursuant to the parties’ negotiations and the Court’s order, the
25   Defendants’ opposition to the PI Motion was not tied to the Court’s resolution of
26   the OSC.
27         Despite these agreements and the Court’s order thereon, Defendants now assert
28   that it would be “impractical” to adhere to the schedule they agreed to because they
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 1   “have not been expending resources in preparing their opposition to the PI Motion, as
 2   they have been anticipating that the Court’s resolution of the OSC could moot the PI
 3   Motion at any point.” Motion at 4:14-17.
 4         Respectfully, Plaintiffs dispute that Defendants’ failure to prepare an opposition
 5   under these circumstances could possibly constitute good cause for further delay.
 6   “[C]arelessness is not compatible with a finding of diligence” necessary to modify a
 7   scheduling order. Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir.
 8   1992). Because Defendants were not diligent, this Court’s “inquiry should end.” Id.
 9   And, of course, Defendants should not have relied on the fact that this Court
10   potentially could issue an order mooting the motion as a reason not to begin preparing
11   an opposition. Indeed, it is entirely common for defendants to make standing and other
12   jurisdictional arguments at the same time they oppose motions for preliminary
13   injunctions on the Winter factors, including likelihood of success on the merits. See,
14   e.g., Doe v. San Diego Unified Sch. Dist., No. 3:21-cv-1809-CAB-LL, 2021 WL
15   5396136, at *2 (S.D. Cal. Nov. 18, 2021) (considering plaintiffs’ standing to seek a
16   preliminary injunction along with merits of injunction motion); HDOS Franchise
17   Brands, LLC v. El Paso Hot Dog, LLC, No. 3:21-cv-00201-AJB-BLM, 2021 WL
18   5629923, at *2–5 (S.D. Cal. June 29, 2021) (denying defendants’ motions to dismiss
19   for lack of jurisdiction and improper venue in same opinion that granted plaintiffs’
20   preliminary injunction motion); Melt Franchising, LLC v. PMI Enterprises, Inc., 2008
21   WL 11338025, at *1 (C.D. Cal. Aug. 18, 2008) (denying defendants’ motion
22   challenging jurisdiction and venue in same order granting plaintiff’s preliminary
23   injunction motion).
24         This lawsuit has been on file for more than two months, and the PI Motion has
25   been on file for more than six weeks. The PI Motion raises purely legal issues that
26   have already been developed extensively in briefs and a 17-page District Court
27   opinion in Miller. Defendants do not argue that their oppositions would be
28   complicated or difficult to prepare. Indeed, in the six weeks since it has been filed, not
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 1   a single Defendant has suggested any basis for actually opposing the PI Motion on the
 2   merits. Rather, the entire point is to delay. Plaintiffs respectfully request that the PI
 3   Motion not be delayed any more than it already has.
 4
     2.    The Entire Point Of Plaintiffs’ Lawsuit And PI Motion Is Avoiding
 5         Further Constitutional Injury—A Textbook Basis For Expedited Review.
 6         Defendants make the remarkable assertion that “Plaintiffs have provided no
 7   reason for attempting to expedite a resolution of this matter on the merits.” Motion at
 8   4:23. Setting aside the fact that a hearing date more than two months from a
 9   preliminary injunction’s filing is hardly “expedited,” the very essence of Plaintiffs’
10   lawsuit justifies expedited review. Defendants are perpetrating ongoing violations of
11   Plaintiffs’ constitutional rights, including their First Amendment right of access to
12   the courts, by the threat of Defendants’ enforcement of a fee-shifting law that this
13   Court has already ruled violates the Constitution in multiple respects.
14         Defendants argue that “a short delay in the resolution of their PI Motion . . . can
15   hardly cause Plaintiffs[] any harm.” Motion at 5:17–20. The United States Supreme
16   Court disagrees. “The loss of First Amendment freedoms, for even minimal periods
17   of time, unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347,
18   373 (1976). The Ninth Circuit does, too. “[A]ny loss of First Amendment freedoms,
19   even briefly, can constitute irreparable injury.” Topanga Press, Inc. v. City of Los
20   Angeles, 989 F.2d 1524, 1528 (9th Cir.1993). And this Court’s decisions confirm its
21   commitment to protect First Amendment rights by issuing prompt injunctive relief.
22   E.g., Miller v. Bonta, No. 3:22-cv-1446-BEN-MDD, --- F.Supp.3d ----, 2022 WL
23   17811114, *8 (S.D. Cal. Dec. 19, 2022) (quoting Elrod); B & L Prods., Inc. v. 22nd
24   Dist. Agric. Ass’n, 394 F. Supp. 3d 1226, 1250 (S.D. Cal. 2019) (same); Thalheimer
25   v. City of San Diego, 706 F. Supp. 2d 1065, 1085 (S.D. Cal. 2010) (same). The delays
26   occasioned by litigation cannot be swept aside by government attorneys when
27   constitutional rights are on the line: “[T]he duration of a trial is an ‘intolerably long’
28   period during which to permit the continuing impairment of First Amendment
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 1   rights.” Am.-Arab Anti–Discrimination Comm. v. Reno, 70 F.3d 1045, 1058 (9th
 2   Cir.1995) (citation omitted).
 3         Defendants erroneously attempt to diminish the significant and ongoing First
 4   Amendment injury inflicted by the statute’s fee-shifting penalty by claiming that the
 5   existence of the Fahr litigation “indicates that [Section 1021.11] is not actually
 6   deterring firearms litigation.” Motion at 5:11-17. Plaintiffs have submitted evidence
 7   confirming Section 1021.11’s impact on the Fahr case, which has effectively been on
 8   hold since July 2022. PI Motion at 5:19–6:2. And Defendants otherwise ignore the
 9   evidence that Plaintiffs have been shut out of court in each of the remaining defendant
10   jurisdictions:
11         •      County of Imperial. Plaintiffs have been prevented from filing a lawsuit
12   challenging the constitutionality of a county ordinance prohibiting the possession of
13   firearms in any recreational park within the county’s jurisdiction. PI Motion at 6:3–8.
14         •      County of Alameda. Plaintiffs have been prevented from challenging the
15   constitutionality of the Alameda County Sherriff’s Office’s application and
16   enforcement of the County’s licensing regime for carrying concealed firearms. PI
17   Motion at 6:9–21.
18         •      County of Ventura. Plaintiffs have been prevented from challenging the
19   constitutionality of the County’s licensing regime for carrying concealed firearms.
20   Ventura County did not respond. PI Motion at 6:22–27.
21         •      County of Los Angeles. Plaintiffs have been prevented from challenging
22   the constitutionality of (1) the Los Angeles County Sherriff’s Office’s application and
23   enforcement of the County’s licensing regime for carrying concealed firearms; and
24   (2) a provision of the county code prohibiting the possession of firearms in any public
25   park within the county’s jurisdiction. PI Motion at 7:1–10.
26         •      City of San Jose. Plaintiffs have been prevented from re-filing a lawsuit
27   challenging the constitutionality of city ordinances requiring firearm owners to pay an
28   annual fee to a City-designated non-profit organization and obtain firearm-related
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 1   insurance. FPC had previously sued to invalidate those same regulations, but
 2   dismissed the lawsuit in August 2022 because of the threat posed by Section 1021.11.
 3   PI Motion at 7:11–8:5.
 4         •      Santa Clara County. Plaintiffs have been prevented from challenging the
 5   constitutionality of the County’s licensing regime for carrying concealed firearms.
 6   Santa Clara County has not responded. PI Motion at 8:6–12.
 7         It is now mid-May. Over two months have passed since Plaintiffs filed this
 8   lawsuit, and nearly five months have passed since Plaintiffs first sought Defendants’
 9   agreement not to enforce a law that was ruled unconstitutional six months ago in
10   Miller. Defendants would surely be happy to continue delaying challenges to their
11   firearms regulations indefinitely. Plaintiffs respectfully request that this delay come
12   to an end so their motion may be considered.
13                                        CONCLUSION
14         Defendants’ ex parte application should be denied.
15    Dated: May 12, 2023                        BENBROOK LAW GROUP, PC
16                                               By s/ Bradley A. Benbrook
17                                                 BRADLEY A. BENBROOK
                                                   Attorneys for Plaintiffs
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